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        UNITED STATES DISTRICT COURT                                                   LONG ISLAND OFFICE
        EASTERN DISTRICT OF NEW YORK

        JESSICA LERICHE,                                               1:13 CV 5167 (SJF) (WDW)

                                        Plaintiff,                   STIPULATION OF DISMISSAL
                           vs.
        GC SERVICES LIMITED PARTNERSHIP,

                                       Defendant,

                 IT IS HEREBY STIPULATED AND AGREED, by and between the plaintiff Jessica

        Leriche and the Defendant, GC Services Limited Partnership, that the above-entitled action is

        hereby dismissed with prejudice, with each party to bear its own costs, pursuant to Rule 4I(a) of

        tbe Federal Rules of Civil Procedure.


        Dated; New York, New York
               January 16,2014




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        By:                ~
               M. Harve     ephen (3384)                       Elizabeth K. Devine (ED-0082)
               Attorney's for Plaintiff                        Hinshaw & Culbertson LLP
               708 Third Avenue, 6th Floor                     Attorneys for Defendant
               New York, NY 10017                                GC Services Limited Partnership
               Tel: (212) 796-0930                             800 Third Avenue, 13th Floor
               Fax: (212) 330-7582                             New York, New York 10022

I   Ia.I/JJf                                                   (212) 471-6200


        s~
        s/ Sandra J. Feuerstein
        Sandra J. Feuerstein
        District Judge
